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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                     Plaintiff,                                 8:21CR181

       v.
                                                                 ORDER
TOMAS LORENZO-CRUZ,

                     Defendant.


      This matter is before the Court on defendant Tomas Lorenzo-Cruz’s (“Lorenzo-
Cruz”) pro se “Motion for Reduction of Sentence Pursuant to 18 U.S.C. [§] 3582(c)(2) in
Light of Retroactive Effect of Amendment 821” (Filing No. 176). The Court entered
General Order No. 2023-09 (Filing No. 177) in Lorenzo-Cruz’s case on February 26, 2024,
appointing the Federal Public Defender for the District of Nebraska to help determine
whether he qualified for relief under Amendment 821 to the United States Sentencing
Guidelines. Lorenzo-Cruz thereafter retained private counsel.

      The United States Probation and Pretrial Services Office (“probation”) has now filed
a Retroactive Sentencing Worksheet (Filing No. 186) calculating the potential effect of
Amendment 821 on Lorenzo-Cruz’s sentence. The parties are ordered to respond to that
worksheet on or before August 16, 2024.

      Dated this 6th day of August 2024.

                                                BY THE COURT:




                                                Robert F. Rossiter, Jr.
                                                Chief United States District Judge
